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     PLAINTIFFS’
    OPPOSITION TO
 GOOGLE’S MOTION IN
 LIMINE NUMBER 4 TO
 EXCLUDE EVIDENCE
 AND ARGUMENT RE:
    JOINING DATA

   Unredacted Version of
Document Sought to be Sealed
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                                   NORTHERN DISTRICT OF CALIFORNIA
21
     CHASOM BROWN, WILLIAM BYATT,                       Case No.: 4:20-cv-03664-YGR-SVK
22   JEREMY DAVIS, CHRISTOPHER CASTILLO,
                                                        PLAINTIFFS’ OPPOSITION TO
     and MONIQUE TRUJILLO individually and on
23                                                      GOOGLE’S MOTION IN LIMINE
     behalf of all other similarly situated,
                                                        NUMBER 4 TO EXCLUDE EVIDENCE
24                   Plaintiffs,                        AND ARGUMENT RE: JOINING
                                                        DATA
25                   v.
                                                        Judge: Hon. Yvonne Gonzalez Rogers
26   GOOGLE LLC,                                        Date: November 15, 2023
                                                        Time: 9:00 a.m.
27                   Defendant.
28
     ________________________________________________________________________________________________
     PLAINTIFFS’ OPPOSITION TO GOOGLE’S MOTION IN LIMINE 4          CASE NO. 4:20-CV-3664-YGR-SVK
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 1   I.     INTRODUCTION

 2          Google’s motion is styled as one in limine, but it reads more like a Daubert or summary

 3   judgment motion. Worse, it’s a motion Google already lost.

 4          Google last year moved to exclude “[e]xpert opinion about hypothetical risks caused by

 5   Google’s theoretical capability to link PBM data with users’ Accounts or identities.” Dkt. 664

 6   (Schneir Daubert) at 15. This Court denied that motion, holding that “Whether plaintiffs’ data can

 7   be linked to other data such that plaintiffs’ identity can be revealed is relevant to the issues in this

 8   case.” Dkt. 803 at 20. So Google seeks a do-over, hoping to exclude evidence “regarding [their]

 9   ability to join data” as supposedly having “no probative value.” Mot. at 2. Google does not even

10   acknowledge the Court’s prior order, let alone distinguish it. And for good reason; the Court was

11   right. Google’s motion should be denied—again.

12   II.    ARGUMENT

13          A.      Whether Google Links or Can Link Private Browsing Data with Regular
                    Browsing Data Is Relevant, as this Court Already Held.
14
            In its August 2022 Daubert motion regarding Plaintiffs’ privacy expert Bruce Schneier,
15
     Google argued that “[e]xpert opinion about hypothetical risks caused by Google’s theoretical
16
     capability to link PBM data with users’ Accounts or identities is not relevant because Google does
17
     not, in fact, engage in this practice and has policies and processes to prevent it.” Dkt. 664 at 15. This
18
     Court considered and correctly rejected Google’s arguments:
19
            Whether plaintiffs’ data can be linked to other data such that plaintiffs’ identity can be
20          revealed is relevant to the issues in this case. At this juncture, it appears such information is
            at least relevant to the analysis of plaintiffs’ intrusion upon seclusion and invasion of privacy
21          claims, both which turns on the offensiveness of Google’s conduct.
22   Dkt. 803 at 20 (emphasis added). Google now makes the same argument, again:

23          Plaintiffs now appear to have pivoted to a plan to present evidence regarding what Google
            “could” do with the data it receives. But Google’s capability to join does not prove or disprove
24          Plaintiffs’ claims, and would only serve to confuse the jury. . .
25   Mot. at 1, 4. There is no way to reconcile Google’s motion with the Court’s prior ruling, which is

26   probably why Google ignores the Court’s prior order.

27          The Court was right the first time. Plaintiffs are not required to prove the data is identifying.

28   “Legally recognized privacy interests” include “interests in making intimate personal decisions or
                                                      1
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 1   conducting personal activities without observation, intrusion, or interference (‘autonomy privacy’).”

 2   Hill v. Nat’l Collegiate Athletic Ass’n, 865 P.2d 633, 654 (1994) (emphasis added). Google’s efforts

 3   to reframe this case around what it does or does not do with the private browsing data it collects and

 4   stores ignores the gravamen of Plaintiffs’ claim that Google was wrong to collect that data in the

 5   first place. “[I]nformation need not be personally identifying to be private.” In re Google Referrer

 6   Header, 465 F. Supp. 3d 999, 1009-10 (N.D. Cal. 2020).

 7            Regardless, Plaintiffs can (and will) argue that private browsing data is identifying, including

 8   to rebut Google’s arguments. Google seeks to tell the jury that private browsing data is “anonymous

 9   and orphaned,” such that users have no expectation of privacy. See Google’s Draft Pretrial

10   Statement. Plaintiffs can rebut that argument with evidence that Google stores private browsing data

11   with identifying information, including IP address, user agent, location information, and signed-in

12   identifiers associated user’s accounts on non-Google websites. Hochman Rep. § VIII.F (Dkt. 608-

13   12). The identifying nature of the data makes Google’s behavior all the more offensive—an issue

14   relevant to (at a minimum) Plaintiffs’ invasion of privacy and intrusion upon seclusion claims, and

15   Plaintiffs’ requests for punitive damages. Google’s Motion cites just one case to argue that

16   joinability is irrelevant. See Mformation Techs., Inc. v. Rsch. in Motion Ltd., 2012 WL 2339762, at

17   *4 (N.D. Cal. June 7, 2012). That case is far afield, focused on patent infringement damages.1

18            Even the definition of “personal information” in Google’s own Privacy Policy makes it

19   relevant whether Google can join or link this data. Google’s Privacy Policy defines “personal

20   information” to include “information that you provide to us which personally identifies you, such as

21   your name, email address, or billing information, or other data that can be reasonably linked to

22   such information by Google, such as information we associate with your Google Account.”2

23   Plaintiffs are entitled to present evidence demonstrating that private browsing data can be linked to

24   information tied to users’ Google accounts.

25            California law also undermines Google’s position. Under California law, “personal

26
     1
27    The court excluded “third-party valuations” of a patent cited by the defendant’s damages expert
     because the valuations did not “assess the value of the [] Patent at the time infringement began.” Id.
28   2
         https://policies.google.com/privacy?hl=en-US (emphasis added).
                                                       2
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 1   information” includes “information that identifies, relates to, describes, is reasonably capable of

 2   being associated with, or could reasonably be linked, directly or indirectly, with a particular

 3   consumer or household,” including “Internet or other electronic network activity information,” such

 4   as “browsing history, search history, and information regarding a consumer’s interaction with an

 5   internet website, application, or advertisement.” In re Google RTB Consumer Priv. Litig., 606 F.

 6   Supp. 3d 935, 944 (N.D. Cal. 2022) (Gonzalez Rogers, J.) (citing Cal. Civ. Code § 1798.140). It

 7   strains credulity for Google to suggest that Plaintiffs should be precluded from introducing evidence

 8   or argument about whether private browsing data can “reasonably be linked” to users.

 9          B.      Ample Evidence Supports Plaintiffs’ Argument that Private Browsing Data Is
                    Identifying, as this Court Already Found.
10
            Rather than confront the Court’s prior order on this exact issue, Google resorts to arguments
11
     best suited for summary judgment or trial. Google repeatedly asserts there is “no evidence” that
12
     Google joins authenticated data with unauthenticated data.
13
            Unmasked, what Google really seeks is a factual finding on a hotly contested issue, and one
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     this Court already refused to make. At summary judgment, Google argued that Plaintiffs’ claims
15
     should be dismissed because private browsing data is “anonymous.” See Dkt. 934 (Google’s MSJ
16
     Reply) at 2. This Court disagreed. In addition to rejecting Google’s legal argument that Plaintiffs
17
     must prove the data is identifying, this Court found there is sufficient evidence to support Plaintiffs’
18
     factual argument that the data is identifying:
19
            [P]laintiffs set forth evidence that Google does store their data with unique identifiers.
20          (PAF 25.) For example, plaintiffs have evidence that Google stores users’ regular and private
            browsing data in the same logs; it uses those mixed logs to send users personalized ads; and,
21          even if the individual data points gathered are anonymous by themselves, when aggregated,
            Google can use them to “uniquely identify a user with a high probability of success.” This
22          supports plaintiffs’ showing that they suffered concrete harm.
23   Dkt. 969 at 11 (emphasis added).
24          The Court got it right (again). Even Google’s engineers agree with Plaintiffs. Internally (not

25   publicly), Google’s employees made it “perfectly clear” that “the data collected while [in] Incognito

26   [mode] is strictly NOT anonymous.” GOOG-CABR-00501220 (Ex. 1) (emphasis added). They

27   dismissed as “laughable” the “

28                  GOOG-BRWN-00433503 (Ex. 2), and they “would never sa[y] that Google doesn’t
                                               3
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     PLAINTIFFS’ OPPOSITION TO GOOGLE’S MOTION IN LIMINE 4          CASE NO. 4:20-CV-3664-YGR-SVK
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 1   know who you are while you’re Incognito.” GOOG-CABR-04780837.R (Ex. 3).

 2          Google’s Motion emphasizes how Plaintiffs’ counsel explained to the Court that “we do not

 3   have evidence that they joined them in the sense that they want to use the word ‘joined.’” Mot. at 2

 4   (emphasis added). But that statement only underscores why it is inappropriate to resolve this issue

 5   through a motion in limine. Plaintiffs’ technical expert will explain why Google’s definition of

 6   “joined” is overly restrictive and beside the point. He analyzed the data produced in this case, and

 7   he concluded that it is keyed to unique identifiers, which makes the data identifying. Hochman

 8   Opening Rep. § VIII.F (Dkt. 608-12). He will also describe the             log” where Google stores

 9                                                                    —a fact which contradicts Google’s

10   prior (false) assurance to the Court that “logs are internally segregated by whether you’re logged

11   into a Google account or aren’t.” Apr. 29, 2021 Hearing Tr. at 16:19-20; Hochman Second Supp’l

12   Rep. ¶¶ 43-46 (Dkt. 990-1). Even without this overwhelming evidence in Plaintiffs’ favor, Google’s

13   motion would be improper. “[A] motion in limine should not be used to resolve factual disputes or

14   weigh evidence or used as a substitute for a motion for summary judgment.” Zamora v. BMW of N.

15   Am., LLC, 2022 WL 17061082, at *1 (C.D. Cal. Sept. 13, 2022).

16          Finally, the only thing that may “confuse the jury” (Mot. at 1) is Google asserting that private

17   browsing data is “anonymous” when Google’s own engineers internally admit that Incognito data is

18   “strictly NOT anonymous,” and Google actually stores that private browsing data in the same log as

19   regular data. If Google’s lawyers still like the argument, they can go for it. But the argument should

20   rise or fall on the evidence. Google’s motion for a shortcut should be denied.3

21   III.   CONCLUSION

22          Plaintiffs respectfully request that this Court deny Google’s Motion in Limine Number 4.

23

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25   3
       Google’s two cases about “mini-trials” are inapposite because they involved plainly irrelevant
26   evidence. The court in Harvey v. Cook excluded evidence about FDA processes that were irrelevant
     to a “product’s independent safety and efficacy—the very subjects of the plaintiff's products liability
27   claim.” 2015 WL 1405558, at *2. Similarly, the court in Tennison v. Circus Circus Enterprises (a
     sexual harassment case) excluded evidence about “complaints [that] did not involve Plaintiffs [which]
28   occurred five years before.” 244 F.3d 684, 689 (9th Cir. 2001).
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